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 Fill in this information to identify the case:

 Debtor name         COWBOYS FAR WEST, LTD.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         16-51419
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule       B
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 20, 2016                           X /s/ MICHAEL J. MURPHY
                                                                       Signature of individual signing on behalf of debtor

                                                                       MICHAEL J. MURPHY
                                                                       Printed name

                                                                       President of Cowboys Concert Hall-Arlington, Inc., Gen. Ptr.
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         COWBOYS FAR WEST, LTD.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         16-51419
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Plains Capital                                           Checking                     0232                                    $29,740.95




           3.2.    Plains Capital                                           Checking                     2743                                  $118,445.39




           3.3.    Plains Capital (-$20,403.82)                             Checking                     2662                                             $0.00




           3.4.    Plains Capital (-$1,574.12)                                                           2727                                             $0.00




           3.5.    Plains Capital                                           Checking                     5321                                     $1,490.61




           3.6.    Plains Capital Bank                                      Checking                     2654                                         $62.28




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           COWBOYS FAR WEST, LTD.                                                      Case number (If known) 16-51419
                  Name




           3.7.     Plains Capital Bank (Pledged)                           CD                              3617                         $104,178.91




           3.8.     Ciera Bank (Pledged                                     CD                              0056                            $5,044.52



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                          $258,962.66
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used      Current value of
                                                      physical inventory      debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Liquor                                                                           $0.00                                         $24,091.88


           Beer                                                                             $0.00                                         $29,868.89


           Wine                                                                             $0.00                                             $271.93



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         COWBOYS FAR WEST, LTD.                                                           Case number (If known) 16-51419
                Name


 23.       Total of Part 5.                                                                                                              $54,232.70
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Furniture and fixtures                                                              $0.00                                         $50,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Sound, light and video equipment                                                    $0.00                                         $75,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $125,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         COWBOYS FAR WEST, LTD.                                                        Case number (If known) 16-51419
                Name



        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Ford Truck                                                             $0.00                                          $35,000.00


           47.2.     Ford Truck                                                             $0.00                                          $39,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                             $74,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Land, building and
                     improvements
                     located at 3030 NE
                     Loop 410, San
                     Antonio, Bexar
                     County, Texas 78218.                                         $10,000,000.00     Appraisal                        $10,000,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 Debtor         COWBOYS FAR WEST, LTD.                                                       Case number (If known) 16-51419
                Name


 56.        Total of Part 9.                                                                                                      $10,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Wrongful Acceleration of Promissory Note and Breach
            of Implied Covenant of Good Faith and Fair Dealing
            against Everbank Financial Corporation and Business
            Property Lending, Inc.                                                                                                         Unknown
            Nature of claim         Breach of Contract`
            Amount requested                            $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         COWBOYS FAR WEST, LTD.                                                       Case number (If known) 16-51419
                Name


               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
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 Debtor          COWBOYS FAR WEST, LTD.                                                                              Case number (If known) 16-51419
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $258,962.66

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $54,232.70

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $125,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $74,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $10,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $512,195.36           + 91b.           $10,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $10,512,195.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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